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✎ PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                              for
                                            Eastern District of Washington


U.S.A. vs.                   Witherwax, Tasean E.                         Docket No.             2:15CR00144-SMJ-9


                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the
conduct of defendant Tasean E. Witherwax, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers, sitting in the Court at Spokane, Washington, on the 11th day of January 2016, under
the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant was cited for operating a vehicle without ignition interlock, third degree driving while license
suspended, and cell phone use while driving on January 28, 2016.

                  PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                             I declare under the penalty of perjury
                                                                             that the foregoing is true and correct.
                                                                             Executed on:      March 4, 2016
                                                                    by       s/Erik Carlson
                                                                             Erik Carlson
                                                                             U.S. Pretrial Services Officer

THE COURT ORDERS
[X ] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other



                                                                                Signature of Judicial Officer
                                                                                     March 7, 2016

                                                                                Date
